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            IN THE UNITED STATES DISTRICT COURT
         FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

JAMES T. SNARR,
                                    U.S. BANK NATIONAL
      Plaintiff,                    ASSOCIATION’S REPLY
                                    MEMORANDUM IN SUPPORT OF
vs.                                 MOTION TO DISMISS

TRANSWORLD SYSTEM, INC.,            Case No. 2:21-cv-00003
U.S. BANK, NATIONAL
COLLEGIATE STUDENT LOAN             District Judge Howard C. Nielson,
TRUST 2006-3,                       Jr.
                                    Magistrate Judge Dustin B. Pead
      Defendants.
      Pursuant to DUCivR 7-1(b)(4), Defendant U.S. Bank National Association

(“U.S. Bank”) identifies and attaches as Exhibit A the following supplemental

authority that is pertinent to U.S. Bank’s Motion to Dismiss Plaintiff’s Complaint

(ECF No. 27) and the Joint Motion to Dismiss (ECF No. 26) submitted by National

Collegiate Student Loan Trust 2006-3 (the “Trust”) and U.S. Bank. Specifically, the

attached Report and Recommendation (“R&R”) entered in Gosse et al. v.

Transworld Systems, Inc. et al., No. 3:20-cv-1446 (M.D. Pa. July 13, 2021),

addressed and dismissed a state-law “wrongful use of civil proceedings” claim

against U.S. Bank, based on allegations concerning the filing of a state court lawsuit

(Exhibit A, at 15–21). The following sections of the R&R may be relevant to the

Court’s consideration of U.S. Bank’s arguments for why Plaintiff’s claims for civil

conspiracy and invasion of privacy should be dismissed (see ECF No. 26, at 3–5,

13–19; ECF No. 27, at 3–6):

         • Exhibit A at 6, which addresses the amended complaint’s reliance on
           allegations from other lawsuits.

         • Exhibit A at 4–5, 19, which discusses how the Special Servicing
           Agreement “prohibited [U.S. Bank] from directly undertaking debt
           collection activities or supervising such debt collection activity.”

         • Exhibit A at 15–20, which discusses why the amended complaint’s
           “general and sweeping allegations” regarding how “U.S. Bank
           supported a series of debt collection actions,” are “insufficient to state
           a claim upon which relief [may be granted].”
                                          2
      For the Court’s convenience, the Amended Complaint at issue in the R&R is

attached as Exhibit B.   As required by DUCivR 7-1(b)(4), this supplemental

authority is appended hereto, without argument.


Dated: July 21, 2021

                                            DORSEY & WHITNEY LLP

                                             /s/ Adam C. Buck
                                            Milo Steven Marsden
                                            Adam C. Buck
                                            Attorneys for Defendants National
                                            Collegiate Student Loan Trust 2006-3
                                            and U.S. Bank National Association

                                            JONES DAY
                                            Albert J. Rota
                                            (admitted pro hac vice)
                                            Attorney for U.S. Bank National
                                            Association




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                          CERTIFICATE OF SERVICE

      I hereby certify that on July 21, 2021 I filed the foregoing with the Clerk of

the United States District Court using the CM/ECF system, which will send

notification electronically to all counsel of record.

                                              /s/ Adam C. Buck
                                             Adam C. Buck
                                             Attorney for Defendants National
                                             Collegiate Student Loan Trust 2006-3
                                             and U.S. Bank National Association
